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DOCKET NUMBERS: CR 24-0248 (NGG)
                                     CRIMINAL CAUSE FOR GUILTY PLEA
Date Received By Docket Cleric _ _ _ _ _ __                Docket Clerk Initials: _ _ _ _ _ __
BEFORE JUDGE: GARAUFIS DATE: SEPTEMBER 5, 2024                 TIME IN COURT _I_ HRS                 MINS
                                  @11:00AM.
1. DEFENDANT: HECTOR MEDINA, JR.

Present X Not Present     Custody          Not Custody X
DEFENSE COUNSEL: JOSEPH VEITH
 FEDERAL DEFENDER:            CJA:                                    RETAINED: X

2. DEFENDANT:
Present  Not Present          Custody               Not Custody

DEFENSE COUNSEL:
 FEDERAL DEFENDER:                  CJA:                   RETAINED:

3. DEFENDANT:
Present Not Present       Custody          Not Custody

DEFENSE COUNSEL:
FEDERAL DEFENDER: CJA:                RETAINED:

A.U.S.A.: ANDREW GRUBIN


COURT REPORTER: ANTHONY FRISOLONE
INTERPRETER:        LANGUAGE:

X    Change of Plea Hearing (~Util-Plea Entered) 0 Revocation of Probation contested
D      Arraignment                                        D Sentencing on a violation
D     Bail Application                                    D Motion Hearing
D     Violation                                           D Hearing
D     Status Conference                                   D Sentencing
D       Bail Violation Hearing                            D Motion for sentence reduction
D      Curcio Hearing                                     D Oral Argument
0       Voir Dire Held          D         Jury selection          D Jury trial
0       Jury Trial Death Penalty O        Sentence enhancement Phase                0       Bench Trial Begun
Speedy Trial Start:      Speedy Trial Stop:     CODE TYPE: XT
Do these minutes contain ruling(s) on motion(s)?     YES                                    NO     X

TI-IE DEFENDANT WAIVES HIS RIGHT TO PROSECUTION BY INDICTMENT AND CONSENTS TO PROSECUTION BY
INFORMATION. THE DEFENDANT PLEADS GUILTY TO THE SINGLE-COUNT INFORMATION. SENTENCING IS
SCHEDULED FOR MONDAY, DECEMBER 30, 2024 AT 11 :00 AM.
